              Case 3:21-cv-05227-JD Document 334 Filed 01/30/23 Page 1 of 10




 1
     Karma M. Giulianelli (SBN 184175)                        Brendan P. Glackin (SBN 199643)
 2   karma.giulianelli@bartlitbeck.com                        bglackin@agutah.gov
     BARTLIT BECK LLP                                         OFFICE OF THE UTAH ATTORNEY
 3   1801 Wewatta St., Suite 1200                             GENERAL
                                                              160 E 300 S, 5th Floor
 4   Denver, Colorado 80202
     Telephone: (303) 592-3100                                PO Box 140872
 5                                                            Salt Lake City, UT 84114-0872
     Hae Sung Nam (pro hac vice)                              Telephone: (801) 366-0260
 6
     hnam@kaplanfox.com
                                                              Counsel for the Plaintiff States in State of
 7   KAPLAN FOX & KILSHEIMER LLP                              Utah et al. v. Google LLC et al.
     850 Third Avenue
 8   New York, NY 10022
     Telephone: (212) 687-1980                                Douglas J. Dixon (SBN 275389)
 9                                                            ddixon@hueston.com
                                                              HUESTON HENNIGAN LLP
10   Co-Lead Counsel for the Class in In re Google            620 Newport Center Drive, Suite 1300
     Play Consumer Antitrust Litigation                       Newport Beach, CA 92660
11                                                            Telephone: (949) 229-8640
     Paul J. Riehle (SBN 115199)
12   paul.riehle@faegredrinker.com                            Counsel for Plaintiffs Match Group, LLC, et
13   FAEGRE DRINKER BIDDLE & REATH                            al. in Match Group, LLC et al. v. Google
     LLP                                                      LLC et al.
14   Four Embarcadero Center, 27th Floor
     San Francisco, CA 94111                                  Glenn D. Pomerantz (SBN 112503)
15   Telephone: (415) 591-7500                                glenn.pomerantz@mto.com
                                                              MUNGER, TOLLES & OLSON LLP
16
     Christine A. Varney (pro hac vice)                       350 South Grand Avenue, Fiftieth Floor
17   cvarney@cravath.com                                      Los Angeles, California 90071
     CRAVATH, SWAINE & MOORE LLP                              Telephone: (213) 683-9100
18   825 Eighth Avenue
     New York, New York 10019                                 Brian C. Rocca (SBN 221576)
19
     Telephone: (212) 474-1000                                brian.rocca@morganlewis.com
20                                                            MORGAN, LEWIS & BOCKIUS LLP
     Counsel for Plaintiff Epic Games, Inc. in Epic           One Market, Spear Street Tower
21   Games, Inc. v. Google LLC et al.
                                                              San Francisco, CA 94105-1596
22                                                            Telephone: (415) 442-1000

23

24                                                            Counsel for Defendants Google LLC et al.

25

26
27   [Additional counsel appear on signature page]
28
                                               JOINT PROPOSED SCHEDULE
                          Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD;
                                         3:21-cv-05227-JD; 3:22-cv-02746-JD
              Case 3:21-cv-05227-JD Document 334 Filed 01/30/23 Page 2 of 10




                                  UNITED STATES DISTRICT COURT
 1

 2                             NORTHERN DISTRICT OF CALIFORNIA

 3                                      SAN FRANCISCO DIVISION

 4
     IN RE GOOGLE PLAY STORE                                   Case No. 3:21-md-02981-JD
 5   ANTITRUST LITIGATION

 6   THIS DOCUMENT RELATES TO:                                 JOINT STATEMENT RE: PROPOSED
                                                               CASE SCHEDULE AND TRIAL
 7   Epic Games, Inc. v. Google LLC et al.,                    STRUCTURE
     Case No. 3:20-cv-05671-JD
 8                                                             Judge: Hon. James Donato
     In re Google Play Consumer Antitrust
 9   Litigation, Case No. 3:20-cv-05761-JD

10   State of Utah et al. v. Google LLC et al.,
     Case No. 3:21-cv-05227-JD
11
     Match Group, LLC et al. v. Google LLC et al.,
12   Case No. 3:22-cv-02746-JD

13

14           Pursuant to the Court’s January 18, 2023 Order directing the parties to file a joint

15   proposal regarding the case schedule (MDL Dkt. No. 421), Plaintiff Epic Games, Inc. (“Epic”),

16   Plaintiffs Match Group, LLC, et al. (“Match”), Consumer Plaintiffs, State Attorneys General

17   Plaintiffs, and Defendants Google LLC et al. (“Google,” and collectively, the “Parties”), by and

18   through their undersigned counsel, submit this Joint Statement Regarding Proposed Case

19   Schedule and Trial Structure.

20      I.      CASE SCHEDULE

21           The Parties suggest, in the table below, interim dates for expert depositions, summary

22   judgment and Daubert motions (and responses and replies thereto), discovery relating to Epic’s

23   and Match’s amended complaints, and the final pre-trial conference. The Plaintiffs’ agreement

24   to the motion briefing dates is somewhat contingent on the possible dates for a concurrent expert

25   proceeding or dispositive motion hearing, and the Parties therefore respectfully request

26   additional guidance from the Court, including with respect to the Court’s availability in June,

27   July and August 2023. The Parties have collectively disclosed 18 experts in this litigation, but
                                                           1
28
                                                JOINT PROPOSED SCHEDULE
                           Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD;
                                          3:21-cv-05227-JD, 3:22-cv-02746-JD
                 Case 3:21-cv-05227-JD Document 334 Filed 01/30/23 Page 3 of 10




 1   do not anticipate that the Court will find it necessary to hear from all 18 experts in the concurrent
 2   proceeding or practical to have a single concurrent proceeding with numerous experts addressing
 3   different issues.
 4
         Event                                       Current Deadline                   Proposed Deadline
 5                                                   (MDL Dkt. Nos. 338
                                                     and 401)
 6
         Fact discovery cut-off                      Closed                             Closed
 7       Plaintiffs’ merits expert reports           Closed                             Closed
 8       Google’s merits expert reports              November 18, 2022                  Closed
         Plaintiffs’ merits expert rebuttal          December 23, 2022                  Closed
 9       reports
10       Epic and Match to respond to                N/A                                Closed
         Google’s contention interrogatories
11       relating to Epic’s and Match’s
         amended complaints
12
         Last day for Google to serve                N/A                                February 9, 2023
13       supplemental expert report relating
         to Epic’s and Match’s amended
14       complaints
         Epic and Match to respond to                N/A                                March 2, 2023
15       Google’s supplemental expert
         report relating to Epic’s and
16       Match’s amended complaints
17       Deadline for completion of                  N/A                                March 31, 2023
         third-party depositions relating to
18       Epic’s and Match’s amended
         complaints1
19       Merits experts discovery cut-off            February 3, 2023                   April 7, 2023
20       Last day to file dispositive and            February 7, 2023                   April 20, 2023
         Daubert motions if any2
21       Dispositive and Daubert motion              February 13, 2023                  May 18, 2023
         responses
22

23
     1
       In the event that certain depositions cannot occur before this deadline for logistical or scheduling reasons, and the
24   parties agree that such deposition(s) may proceed on a later date, the parties request that the Court allow the parties
     to schedule such deposition(s) without the need to seek Court relief from the scheduling order.
25   2
       With respect to dispositive and Daubert motions, the Parties will submit a stipulation for approval that states that
     they will file redacted versions of these briefs and supporting documents on April 20, May 18, and June 8, without
26   accompanying motions to seal. Parties and non-parties shall then jointly file Omnibus Sealing Motions on June 22,
     2023 (i.e., two weeks after the completion of briefing), or any date that the Court chooses following the completion
27   of briefing.
                                                                 2
28
                                                    JOINT PROPOSED SCHEDULE
                               Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD;
                                              3:21-cv-05227-JD, 3:22-cv-02746-JD
             Case 3:21-cv-05227-JD Document 334 Filed 01/30/23 Page 4 of 10



     Dispositive and Daubert motion            February 27, 2023                June 8, 2023
 1   replies
 2   Joint submission for merits experts’ February 28, 2023                     7 days before the
     concurrent expert proceeding                                               concurrent expert
 3                                                                              proceeding
     Concurrent expert proceeding for          March 7, 2023                    TBD
 4   merits experts
 5   Dispositive motion hearing                March 23, 2023                   TBD
     Final pretrial conference                 May 18, 2023                     October 19, 2023
 6
     Jury Trial                                June 5, 2023                     November 6, 2023
 7

 8

 9

10

11

12

13

14

15

16

17

18

19
20

21

22

23

24

25

26
27
                                                         3
28
                                              JOINT PROPOSED SCHEDULE
                         Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD;
                                        3:21-cv-05227-JD, 3:22-cv-02746-JD
               Case 3:21-cv-05227-JD Document 334 Filed 01/30/23 Page 5 of 10




 1      II.      CONCURRENT EXPERT PROCEEDING
 2               a. Plaintiffs’ Position
 3            Plaintiffs understand the primary purpose of the concurrent expert proceeding to be for
 4   the Court to hear firsthand from any experts whose testimony is the subject of a motion to
 5   exclude, and any experts intending to offer testimony on related topics. In an attempt to
 6   coordinate a date for such proceeding, Plaintiffs represented to Google that Plaintiffs will not
 7   move to exclude the testimony of any of Google’s 7 experts, and asked Google to identify which
 8   of Plaintiffs’ 11 experts Google may move against. Although Google has the complete reports of
 9   all Plaintiffs’ experts, Google has taken the position that it cannot at this point provide any
10   clarity about any Daubert motions it may file. As a result, the Parties have been unable to
11   identify a date that works for all Parties and for all 18 experts in this case. Plaintiffs seek further
12   guidance from the Court so that a manageable proceeding can be scheduled and presented to the
13   Court.
14            b. Google’s Position
15            Hours before this joint statement was due, Plaintiffs disclosed that they would not file
16   Daubert motions as to any of Google’s experts and asked Google to provide “a list of which
17   experts, if any, it intends to Daubert.”
18            Plaintiffs have disclosed 11 affirmative merits experts in this proceeding, many of whom
19   address overlapping issues. For example, Plaintiffs have disclosed two different security experts
20   and five economists. Although Google expects to file a limited number of targeted Daubert
21   motions, it has, so far, taken the depositions of only two of Plaintiffs’ 11 merits experts
22   (Plaintiffs have not yet taken the depositions of any merits experts). Google respectfully submits
23   that it is premature for Plaintiffs to demand that Google identify the Daubert motions it may file,
24   particularly because, under the Parties’ proposal, merits expert discovery does not close until
25   April 7, 2023.
26
27
                                                           4
28
                                                JOINT PROPOSED SCHEDULE
                           Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD;
                                          3:21-cv-05227-JD, 3:22-cv-02746-JD
             Case 3:21-cv-05227-JD Document 334 Filed 01/30/23 Page 6 of 10




 1   III.       TRIAL
 2          With respect to the trial:
 3              •   Plaintiffs respectfully request the opportunity to discuss with the Court the impact
 4                  of the Thanksgiving holiday on the trial and the possibility of an alteration of the
 5                  trial date. Google notes that an earlier trial date than the November 6 date set by
 6                  the Court could increase the possibility of a conflict between the trial in this case
 7                  and the trial in United States v. Google, 1:20-CV-03010 (D.D.C.), which is set for
 8                  September 16, 2023, and is anticipated to involve overlapping witnesses. See
 9                  MDL Dkt. No. 419 at 3-4.
10              •   States and Consumer Plaintiffs believe Google’s counterclaims against Match and
11                  Epic should be severed from the core antitrust trial and heard separately. Google
12                  opposes severing its counterclaims and believes that the resolution of the
13                  counterclaims will require the presentation of evidence, witnesses, and issues that
14                  duplicate the proof presented in the trial on Plaintiffs’ claims. Google contends
15                  that severance risks substantial inefficiency for the Court, the Parties, and the
16                  members of the jury or juries. Plaintiffs respond that the claims are irrelevant and
17                  hence inadmissible as to States and Consumers and will consume precious time in
18                  the trial on core antitrust issues. They also will substantially prejudice States and
19                  Consumers by confusing the jury. The Parties propose that they should brief this
20                  issue, and that Plaintiffs would seek severance via motion.
21              •   The Parties jointly propose that equitable and other issues that the Court must
22                  decide (as opposed to the jury) should be addressed, if necessary, at a hearing
23                  before the Court after the jury trial in this case. Plaintiffs propose that the Court
24                  should reserve up to 2 days sometime in late January or early February of 2024,
25                  with a briefing schedule to be further negotiated and proposed by the Parties.
26                  Google defers to the Court as to the schedule for any hearing on equitable relief,
27
                                                          5
28
                                               JOINT PROPOSED SCHEDULE
                          Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD;
                                         3:21-cv-05227-JD, 3:22-cv-02746-JD
     Case 3:21-cv-05227-JD Document 334 Filed 01/30/23 Page 7 of 10




 1         but submits that the length and format of any such hearing should be decided once
 2         the scope of the issues to be heard is known after the jury trial.
 3

 4

 5   Dated: January 30, 2023                 CRAVATH, SWAINE & MOORE LLP
                                               Christine Varney (pro hac vice)
 6                                             Gary A. Bornstein (pro hac vice)
                                               Timothy G. Cameron (pro hac vice)
 7                                             Yonatan Even (pro hac vice)
                                               Lauren A. Moskowitz (pro hac vice)
 8                                             Justin C. Clarke (pro hac vice)
 9                                             Michael J. Zaken (pro hac vice)
                                               M. Brent Byars (pro hac vice)
10

11                                           FAEGRE DRINKER BIDDLE & REATH LLP
                                               Paul J. Riehle (SBN 115199)
12
                                             Respectfully submitted,
13
                                             By: /s/ Lauren A. Moskowitz
14
                                                Lauren A. Moskowitz
15
                                                  Counsel for Plaintiff Epic Games, Inc.
16

17
     Dated: January 30, 2023                 BARTLIT BECK LLP
18                                             Karma M. Giulianelli
19                                           KAPLAN FOX & KILSHEIMER LLP
20                                             Hae Sung Nam

21                                           Respectfully submitted,

22                                           By: /s/ Karma M. Giulianelli
                                                Karma M. Giulianelli
23
                                                  Co-Lead Counsel for the Class in In re Google
24                                                Play Consumer Antitrust Litigation
25

26
27
                                                 6
28
                                      JOINT PROPOSED SCHEDULE
                 Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD;
                                3:21-cv-05227-JD, 3:22-cv-02746-JD
     Case 3:21-cv-05227-JD Document 334 Filed 01/30/23 Page 8 of 10




     Dated: January 30, 2023                PRITZKER LEVINE LLP
 1
                                               Elizabeth C. Pritzker
 2
                                            Respectfully submitted,
 3
                                            By: /s/ Elizabeth C. Pritzker
 4                                             Elizabeth C. Pritzker

 5                                               Liaison Counsel for the Class in In re Google
                                                 Play Consumer Antitrust Litigation
 6

 7

 8   Dated: January 30, 2023                OFFICE OF THE UTAH ATTORNEY GENERAL
                                              Brendan P. Glackin
 9                                            Lauren Weinstein

10                                          Respectfully submitted,
11                                          By: /s/ Brendan P. Glackin
                                               Brendan P. Glackin
12

13                                               Counsel for the Plaintiff States in State of Utah
                                                 et al. v. Google LLC et al.
14

15
     Dated: January 30, 2023                HUESTON HENNIGAN LLP
16                                            Douglas J. Dixon
                                              Christine Woodin
17
                                              Joseph A. Reiter
18
                                            Respectfully submitted,
19
                                            By: /s/ Douglas J. Dixon
20                                             Douglas J. Dixon

21                                               Counsel for Plaintiffs Match Group, LLC et al.
                                                 in Match Group, LLC et al. v. Google LLC et al.
22

23

24

25

26
27
                                                7
28
                                     JOINT PROPOSED SCHEDULE
                Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD;
                               3:21-cv-05227-JD, 3:22-cv-02746-JD
     Case 3:21-cv-05227-JD Document 334 Filed 01/30/23 Page 9 of 10




     Dated: January 30, 2023               MORGAN, LEWIS & BOCKIUS LLP
 1
                                             Brian C. Rocca
 2                                           Sujal J. Shah
                                             Michelle Park Chiu
 3                                           Minna L. Naranjo
                                             Rishi P. Satia
 4
                                           Respectfully submitted,
 5
                                           By: /s/ Brian C. Rocca
 6
                                              Brian C. Rocca
 7
                                                Counsel for Defendants Google LLC et al.
 8

 9
     Dated: January 30, 2023               MUNGER, TOLLES & OLSON LLP
10                                           Glenn D. Pomerantz
                                             Kyle W. Mach
11                                           Kuruvilla Olasa
12                                           Justin P. Raphael
                                             Emily C. Curran-Huberty
13                                           Jonathan I. Kravis

14                                         Respectfully submitted,
15                                         By: /s/ Glenn D. Pomerantz
                                              Glenn D. Pomerantz
16

17                                              Counsel for Defendants Google LLC et al.

18

19
20

21

22

23

24

25

26
27
                                               8
28
                                    JOINT PROPOSED SCHEDULE
               Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD;
                              3:21-cv-05227-JD, 3:22-cv-02746-JD
             Case 3:21-cv-05227-JD Document 334 Filed 01/30/23 Page 10 of 10




                                         E-FILING ATTESTATION
 1

 2          I, Glenn D. Pomerantz, am the ECF User whose ID and password are being used to file
 3   this document. In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that each of the
 4   signatories identified above has concurred in this filing.
 5
                                                                /s/ Glenn D. Pomerantz
 6                                                                Glenn D. Pomerantz
 7

 8

 9

10

11

12

13

14

15

16

17

18

19
20

21

22

23

24

25

26
27
                                                          9
28
                                               JOINT PROPOSED SCHEDULE
                          Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD;
                                         3:21-cv-05227-JD, 3:22-cv-02746-JD
